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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 22-MJ-8332-BER

  

IN RE: SEALED SEARCH WARRANT FILED BY_£Z7A/ DC.

 

ORDER ANGELA E. NOBLE

CLERK U.S. DIST. CT.
S.D. OF FLA. - W.PB.

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On July 11, 2023, the United States filed under seal a proposed redacted
version of docket entry 153 — its sealed Response to the Media Intervenors’ Renewed
Motion for Further Unsealing. ECF Nos. 160, 161. In light of the unsealing of docket
entry 146, it is ORDERED that on or before 5:00 p.m. Eastern time on July 24, 2023,
the United States shall file under seal a revised proposed redacted version of docket

entry 153.

DONE and ORDERED in Chambers this 14th day of July, 2028, at West

Palm Beach in the Southern District of Florida.

Ja. Wid

BRUCE E. REINHART
UNITED STATES MAGISTRATE JUDGE

 
